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                           UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




 VLADIMIR CHEBOTNIKOV,
 EUGENE PANTYUKHIN, YOGESH
 SHARMA, on behalf of themselves
 and others similarly situated,

                       Plaintiffs,                Civ. A. No. l:14-cv-13475-FDS


 V.



 LIMOLINK, INC.,

                       Defendant.



                  fEROROSED] ORDER GRANTING HNAL APPROVAL
                             OF CLASS ACTION SETTLEMENT


        This matter was heard on July 10, 2018, following Plaintiffs' Assented-to Motion

 for Final Approval of Class Action Settlement (the "Motion for Final Approval").

 Following hearing on the Motion for Final Approval, and the Court having considered
 all papers filed and proceedings had herein, and having reviewed the record in the

 above captioned matter,

            IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

       1.        This Court has jurisdiction over the subject matter ofthis proceeding and
all parties in this proceeding, including all members of the Class.

       2,        This Court finds that the notice and claims process provided to Class

Members, as set forth in the SettlementAgreement and Release of Claims ("Settlement")

and executed by Plaintiffs' counsel, was the best notice practicable and fully satisfied the
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requirements of the Federal Rules of Civil Procedure, due process, and any other

applicable laws.

       3.      The Court finds that the settlement memorialized in the Settlement is fair,

reasonable and adequate under Fed. R. Civ. P. 23 and meets all requirements for final

approval. The Court herebyfinally and unconditionally approvesand gives effect to the

Settlement in its entirety. The Court finds that the terms and provisions of the Settlement

have been entered into in good faith and are in the best interest of the Class and in full

compliance with all applicable requirements of the Federal Rules of Civil Procedure, the

Rules of the Court, due process, and any other applicable law.

       4.      Settlement funds, totaling nine-hundred five thousand dollars ($905,000),

shall be distributed in accordance with the Settlement. More specifically:

            a. The three named plaintiffs, Vladimir Chebotnikov, Eugene Pantyukhin,

                and Yogesh Sharma, shall receive an incentive payment of ten thousand
                dollars ($10,000) each, for a total of thirty thousand dollars ($30,000);

            b. Fair Work, P.C. and Knudsen, Burbridge & Manchur, P.C. shall receive

                payment for attorneys' fees in theamount ofthree-hundred one thousand,
                six-hundred sixty-six dollars ($301,666);

            c. Fair Work, P.C., Knudsen, Burbridge &Manchur, P.C., and Optime

                Administration LLC shall receive payment for costs not to exceed twenty-

                thousand dollars ($20,000);
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              d. The remaining settlement funds, totaling a minimum of five-hundred

                 fifty-three thousand three-hundred thirty-four dollars ($553,334), shall be

                 distributed to the Class, in accordance with the Settlement; and

              e. In accordance with the Settlement, unclaimed settlement funds shall

                 revert to a cy pres fund for the benefit of the Boys and Girls Club of Cedar

                 Rapids, a 501(c)(3) charitable organization.

 This Court finds the distributions for incentive payments and attorneys' fees and costs

 to be appropriate because theSettlement provides substantial benefits for the Class, the

 requested incentive awards and attorneys' fees and costs are within the range of

 reasonable awards for similar class action settlements, and because the Settlement was

 negotiated at arms' length and without collusion, following extensive litigation.

      5.         Pursuant to Fed. R. Civ. P. 23(c)(2)(B)(v) and (c)(3)(B), because only one

member of the Class submitted a timely opt-out form, all other members of the Class

shall be bound by the Settlement and this Order.

      6.         Without affecting the finality of this Order, the Court retains jurisdiction

over this action and the parties to administer, supervise, interpret, and enforce the

Settlement and this Order.

      7.         This case and all released claims are otherwise dismissed on the merits,

with prejudice, and with each party to bear its owncosts, except as otherwise setforth in
this Order.


           IT IS SO ORDERED.


 Dated;                   . 2018
